Case 2

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"’ELE“.U
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Facsimile: (203) 65 3-3424
Attomeys for Plaintiff,
David Meske
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION
David Meske, Case £).v 1 z "” 0 5 5 0 5`~(1{>£
Plaintiff, 1. COMPLAINT FOR VIOLATION
OF THE TELEPHONE CONSUMER
vs. PROTECTION ACT, 47 U.S.C. § 227 ,
ET. SEQ.
Verizon Wireless; and DOES 1-10, 2. VIOLATION OF FAIR DEBT
inclusive, COLLECTION PRATICES ACT,
CAL.CIV.CODE § 1788 ET. SEQ.
Defendzmts.
JURY TRIAL I)EMANDED

 

 

 

COMPLAINT FOR I)AMAGES

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For this Complaint, the Plaintiff, David Meske, by undersigned counsel, states

as follows:
,|URISDICTION
l. This action arises out of Defendants’ repeated violations of the

Telephone Consumer Protection Act, 47 U.S.C. § 227, et. seq. (the “TCPA”) and
repeated violations of the Rosenthal Fair Debt Collection Practices Act, California
Civil Code section 1788 et seq. (“Rosenthal Act”).

2. Supplernental jurisdiction exists pursuant to 28 U.S.C. § 1367.

3. Venue is proper in this District pursuant to 28 U.S.C. § 139l(b), in that
Defendants transact business here, Plaintiff resides in this judicial district, and a

substantial portion of the acts giving rise to this action occurred here,

PARTIES
4. The Plaintiff, David Meske (hereafter “Plaintifi”), is an individual

residing in Goleta, California, and is a “person” as defined by 47 U.S.C. § 153(10).

5. Defendant, Verizon Wireless (“Verizon”), is a NeW York business entity
With an address of 2000 Corporate Drive, Orangeburg, NeW York 10962, and is a
“person” as defined by 47 U.S.C. § 153(10).

6. Does l-lO (the “Agents”) are individual employees and/or agents

employed by Verizon and whose identities are currently unknown to the Plaintiff.

 

2 COMPLAINT FOR DAMAGES

 

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One or more of the Agents may be joined as parties once their identities are disclosed
through discovery.
7. Verizon at all times acted by and through one or more of the Agents.

FACTS

8. Within the last year, Verizon placed calls to Plaintiff on his cellular
telephone in an attempt to collect an alleged financial obligation (the “Debt”) owed by
a person by the name of Amelia Pierson (the “Debtor”).

9. Plaintiff does not know the Debtor and is in no way responsible for the
Debt.

lO. Verizon placed calls to Plaintiff’s cellular telephone by using an
automated telephone dialer system (“ATDS”) and/or by using an artificial or
prerecorded voice.

ll. Verizon used a prerecorded message when it called Plaintiff. The
message indicated that Verizon was attempting to reach the Debtor.

12. Plaintiff never provided his cellular telephone number to Verizon and
never provided his consent to Verizon to be contacted on his cellular telephone.

13. During the initial conversation with Verizon, Plaintiff advised Verizon
that the Debtor could not be reached at his number, and that he did not know the

Debtor, and directed Verizon to remove his number from the account.

 

3 COMPLAINT FOR DAMAGES

 

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l4. Despite having been advised that it had the wrong number, Verizon
continued to place calls to Plaintiff on his cellular telephone in an attempt to collect
the Debt.

15. On numerous occasions, Plaintiff followed Verizon’s automated prompts
to attempt to get the calls to stop.

16. In addition, Plaintiff called in to Verizon on multiple occasions to try to
stop the calls. Each time, Plaintiff explained that the Debtor could not be reached at
his number and directed Verizon to stop the calls.

l7. Despite Plaintiff’s many attempts to stop the calls, Verizon nonetheless
continued to call Plaintiff at an excessive and harassing rate, calling multiple times a
day, causing great frustration and aggravation to Plaintiff and his family and intruding
on their rights to be free from unwanted invasions.

18. Plaintiff ultimately was forced to retain the assistance of counsel in an

effort to stop Verizon’s incessant calls.

M
VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION
ACT - 47 U.S.C. § 227, et. sea.
l9. The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

 

4 COMPLAINT FOR DAMAGES

 

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20. Without prior consent the Defendants contacted the Plaintiff by means of
automatic telephone calls or prerecorded messages at a cellular telephone in violation
of 47 U.S.C. § 227(b)(l)(A)(iii).

2l. The telephone number called by Defendant was assigned to a cellular
telephone service for which Plaintiff incurs charges for incoming calls pursuant to 47
U.S.C. § 227(b)(l).

22. The calls from Defendant to Plaintiff were not placed for “emergency
purposes” as defined by 47 U.S.C. § 227(b)(l)(A)(i).

23. Verizon placed calls to Plaintiff’s cellular telephone using prerecorded
voice knowing that it lacked consent to call his number and after being told multiple
times that it had the wrong number. As such, each call placed to Plaintiff was made in
knowing and/or willful violation of the TCPA, and subject to treble damages pursuant
to 47 U.S.C. § 227(b)(3)(C).

24. As a result of each call made in negligent violation of the TCPA, Plaintiff
is entitled to an award of $500.00 in statutory damages for each call in violation of the
TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

25. As a result of each call made in knowing and/or willful violation of the
TCPA, Plaintiff is entitled to an award of treble damages in an amount up to

$1,500.00 pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

 

5 COMPLAINT FOR DAMAGES

 

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M
vIoLATIoN oF THE RosENTHAL FAIR DEBT CoLLECTIoN
PRACTICES ACT, Cal. Civ. Code § 1788 er sea.

26. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

27. The Rosenthal Fair Debt Collection Practices Act, Califomia Civil Code
section 1788 et seq. (“Rosenthal Act”) prohibits unfair and deceptive acts and
practices in the collection of consumer debts.

28. Verizon Wireless, in the regular course of business, engages in debt
collection and is a “debt collector” as defined by Cal. Civ. Code § l788.2(c).

29. The Defendants caused a telephone to ring repeatedly and engaged the
Plaintiff in continuous conversations with an intent to annoy the Plaintiff, in violation
of Cal. Civ. Code § l788.ll(d).

30. The Defendants communicated with the Plaintiff with such frequency as
to be considered harassment, in violation of Cal. Civ. Code § l788.l l(e).

31. The Defendants failed to comply with the provisions of 15 U.S.C. §
1692, et seq., in violation of Cal. Civ. Code § l788.13(e).

32. The Defendants did not comply with the provisions of Title 15 , Section
1692 of the United States Code, in violation of Cal. Civ. Code § l788.l7.

33. The Plaintiff is entitled to damages as a result of the Defendants’

violations.

 

6 COMPLAINT FOR DAMAGES

 

 

 

 

Cas 3 2:13-Cv-05505-DI\/|G-RZ Document 1 Filed 07/30/13 Page 7 of 11 Page |D #:10
1 PRAYER FOR RELIEF
2 WHEREFORE, the Plaintiff prays that judgment be entered against the
3
4 Defendants:
5
6 A. Statutory damages of $500.00 for each violation determined to be
7 negligent pursuant to 47 U.S.C. § 227(b)(3)(B);
8 B. Treble damages for each violation determined to be willful and/or
9
10 knowing pursuant to 47 U.S.C. § 227(b)(3)(C);
11 C. Reasonable attorneys fees and costs pursuant to Cal. Civ. Code §
12 1788.30 et seq.;
13
14 D. Statutory damages of $1,000.00 for knowingly and willfully committing
15 violations pursuant to Cal. Civ. Code § l788.30(b);
16 E. Such other and further relief as may be just and proper.
17
18 TRIAL BY JURY DEMANDED ON ALL COUNTS
19
20 DATED: July 26, 2013 TAMMY HUSSIN
21 /\:1\1>§
22 By:
23 Tammy Hussin, Esq.
24 Lemberg & Associates, LLC
Attomey for Plaintiff, David Meske
25
26
27
28
7 COMPLAINT FOR DAMAGES

 

 

 

Case 2:13-Cv-05505-Dl\/|G-RZ Document 1 Filed 07/30/13 Page 8 of 11 Page lD #:11

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT 'I`O UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Dolly Gee and the assigned discovery
Magistrate Judge is Ralph Zarefsky.

The case number on all documents filed with the Court should read as follows:

CV13- 5505 DMG (RZX)

Pursuant to General Order 05-07 of the United States DiStrict Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOT|CE TO COUNSEL

A copy of this notice must be served With the Summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all pleintiffs).

Subs quent documents must be filed at the following location:

Western Division Southern Divieion [_] Eastern Division
312 N. Spring St., Rm. G-S 411 Weet Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

CV-’IB (03/06) NOTlCE OF ASS|GNN|ENT TO UNlTED STATES MAG|STRATE JUDGE FOR D|SCOVERY

 

 

v _Case 2:13-Cv-05505-Dl\/|G-RZ Document 1 Filed 07/30/13 Page 9 of 11 Page lD #:12

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

 

l (a) PLAINTIFFS (Cheok box if you are representing yourself ll) DEFENDANTS

David Meske Verizon Wireless

 

(h) Attorneys (F`lrm Name, Address and Telephone Nul'nber. If you are representing
yourself, provide.same,)

Tammy Hussin, 6404 Merlin Drive, Carlsbad, CA 92011

855-301-2300 X 5514
Lemberg & Associates, 1 100 Summer St 31'd Fl Stalnford CT 06905 2036532250

Attorneys (lf K.nown)

 

 

II. BASIS OF JURISDICTION (Flace an X in one box only.) III. CITIZENSHIP ()F PRINCIPAL PARTIES - For Diversity Cases Only
(P]ace an X in one box for plaintiff and one for defendant.)
ll l U.S. Government Plaintiff 53 Federal Question (U.S. PTF DEF PTF DEF
Govemment Not a Party) Citizen of Thl's State ll l ll l lncorporia.ted or Principal Place ll 4 ll 4
of Business in this State
ll 2 U.S. Governmerlt Defendant ll 4 Diversity (Indiciilte Citizenship Citizen of Another State ll 2 ll 2 Ineorporated and Principal Place ll 5 ll 5
of Pal‘ties in ltem III) of Business in Another State
Citizen or Subject ofa Foreign Counlry ll 3 ll 3 Foreign Nation ll 6 ll 6

 

 

IV. ORIGlN (Place an X in one box only.)

Ml Original ll 2 Removed from ll 3 Remanded from ll 4 Reinstated or ll 5 Tl'ansferred from another district (speeify): ll 6 Multi-
Proceeding Sfate Court Appellate Court Reopened Disll`ict
Litigation

ll 7 Appeal to District

Judge from
Magistrate Judge

 

V, REQU`ESTED IN COMPLAINT: JURY DEMAND: l!FYes ll No (Check ‘Yes‘ only if demanded in complaint.)
CLASS ACTION under F.R.C.P. 23: ll Yes ll/No

EfMoNEY DEMANDEl) rN COMPLAINT= $ Damas@$, fees vests

 

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of eause. Do not cite jurisdictional statutes unless diversily.)
47 U.S.C. 227 - Violatiolls of the Telephone Consumer Protection Act

 

V'Il. NATURE OF SUIT U’lace an X in one box only.)

 

 
  

   

 

 
 

 

 
   
 

 
   

   
   
 
   

     

 

 

 

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AFTER COMPLETING THE FRONT SIDE OF FORM CV-’l 11 COMPLETE THE INFORMATION REQUESTED BELOW.

 

Cv:il (05/03)

CIVIL COVER SHEE'I`

Page 1 of2

 

 

,C_ase 2:13-Cv-05505-Dl\/|G-RZ Document 1 Filed 07/30/13 Page 10 of 11 Page lD #:13

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIvlL coven sHEET

VIII(a). IDENTICAL CASES: Has this action been previously filed in this court and dismisscd, remanded or closcd? l!{No ll ch
It` yes, list case numbcr(s):

 

VlII(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? l!l'No ll Yes
If yes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) ll A. Arisc from the same or closely related transactions happenings, or cvents; or
ll B. Call for determination of the same or substantially related or similar questions of law and fact; or
ll C. For other reasons would entail substantial duplication of labor if heard by different judges; or
ll D. lnvolve the same patent, trademark or copyright, ppg one of the factors identified above in a, b or c also is presentl

 

lX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District; Califomia County outside of this Distrlct; State if other than California, or Foreign Country, in which EACH named plaintiff resides
ll Checlc here if the government, its agencies or employees is a named plaintiff`. if this box is checkeda go to item (b).

 

 

County in this District:* California, County outside of this District', Stale, if other than California; or Fcreign Country

 

County of Santa Barbara

 

(b) List the County in this District; Califomia County outside of this District; State if other than California, or Foreign Country, in Which EACH named defendant resides
ll Checlc here if the government, its agencies or employees is a named defendant lt` this box is checked, go to item (c),

 

County in this District:* Califomia County outside of this Dislrict', Stote, if other than California; or Fcreign Country

 

State of New York

 

(c) List the County in this District; Califomia County outside of this District; State if other than California', or Foreign Country, in which EACH claim aross.
Notc: In land condemnation cases, use the location of the tract of land involved.

 

County in this District:* Califomia County outside of this District; Stete, if other than California; or Foreign Country

 

County of Santa Barbara

 

 

 

 

* Los Angeles, Orangc, San Bcrnardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: In land condemnation cases use the location of the tract of land involved

”M\_'=“s§ll§rf mm Jttly 26, 2013

 

X. SIGNATURE OF ATTORNEY (OR PRO PER):

 

Nnticc to Counsolil’artics: Tllc CV-71 (JS-44) Civil Cover Shect and the information contained herein neither replace nor supplement the filing and service of pleadings
cr other papers as required by law. This form, approved by the Judicial Cont'crcnce ofthe United States in Septcmber 1974, is required pursuant to Local little 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (Formore detailed instructions, see separate instructions sheet,)

 

Key to Statistical codes relating to Social -Sccurily Cascs:

Naturc of Suit Code Abhreviatiun Substautive Statement of Causc of Action

861 HIA All claims for health insurance benefits (Medicare) under Title lS, Part A, of the Social Securily Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program {42 U.S.C. 1935FF(b))

862 BL All claims for “Black Lung" benefits under 'l`itle 4, l’at‘t B, of the Fedel‘al Coal Mine licalth and Safcty Act of 1969.

{30 U.S.C. 923)

863 DIWC All claims filed by inslu'ed workers for disability insurance benefits under Title 2 of the Social Secul"lty Act, as
amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g)}

863 DIWW All claims filed for widows or widowch insurance benefits based on disability under Title 2 of the Social Security
Act, as amendcd. (42 U.S.C. 405(g))

864 SSlD All claims for supplemental security income payments based upon disability filed under Title 16 of the Soclal Security
Act, as amended.

865 RSl All claims for retirement (old age) and survivors benefits under Title 2 of the Social Secul'ity Act, as amended (42
U'S-C'- (s})

 

CV-'ll [05/08) CIVIL COVER SHEET Pagc 2 of 2

 

 

Case 2:13-cv-05505-DI\/|G-RZ Document 1 Filed 07/30/13 Page 11 of 11 Page |D #:14

Tammy Hussin, Esq.

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6404 Merlin Drive

Carlsbad, Califomia 92011
Telephone: (855) 301~ 2100 EXt. 5514
Facsimile: (203) 653- 3424

 

_UNITED STATES DISTRICT CQURT
CENTRAL DISTRICT OF CALIFORNIA

CASE N`UMBER

DavidMeske cvlza- »95505 1

PLAINrrrr&si

 

V_ mind

 

Ver.izcn Wireless; and DOES 1-10, inclusive,

DEFENDANr(s). SUMMONS

 

 

TO: DEFENDANT(S): Vcrizon Wireless

 

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached |Zl complaint |:l amended complaint
I:| counterclaim [l cross-claim or a motion under Ruie 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiff’s attorney, Tammy Hussin, Esu.. Lemberg & Associates, LLC'. whose
address is 6404 Merlin Drive, Carlsbad, CA 92011. If you fail to do so, judgment by default Will be entered
against you for the relief demanded in the complaint You also must tile your answer or motion with the court.

Clcrk, U. S. District Court

Dated: JUL 30 2013 BY' plyer /@£r few

Depd ty Cler“k/

(S.eal ofthe Court)

[Use 60 days if the defendant is the United States or a United State.r agency or is an ojj‘icer or employee ofthe United States. Allowed
60 days by Rnle 12(:1)(3)].

 

C"v-oiA (12/07) _ " sUMMcNS

